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                             Exhibit 8
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Georgia Attorney General’s (“AG”) Position: The AG is “the legal advisor of the executive
department,” Ga. Const. Art. V, § III, Para. IV, and represents state agencies in court. See
O.C.G.A. §§ 45-15-3, 45-15-34. However, other than law enforcement subpoenas under
O.C.G.A. § 45-15-17(b) (inapplicable here), the Open Records Act (“ORA”), O.C.G.A. § 50-18-
70 et seq. is what the AG—like any member of the public—must use to compel an agency to
produce documents. See, e.g., Bowers v. Bd. of Regents, 259 Ga. 221, 221 (1989). The ORA has
many exemptions and the requestor must reimburse the agency’s costs.

Thus, the AG has no “legal right” to obtain documents from agencies upon demand for this case.
The State of Georgia is not a monolithic, centrally controlled government entity; rather, the
“State” is comprised of its residents. See Perdue v. Baker, 277 Ga. 1, 6 (2003). Under the Code,
the “State” is a separate concept from the Governor, departments of the State, and the executive
branch. See Ga. Const. Art. V, § III, Para. IV; O.C.G.A. §§ 45-15-3, 45-15-34. As for governance
at the state executive level, there are various constitutionally created state officials whom Georgia
residents separately elect and endow with distinct responsibilities. See id. The AG and the State
School Superintendent (head of the Department of Education) are constitutional officers and
separately elected in statewide elections. Ga. Const. Art. V, § III, Para. IV; id. Art. V, § III, Para.
I. The Governor is also separately elected, id. Art. V, § I, Para. II, and as part of his duties appoints
the heads of various other executive and non-executive bodies. For example, the Constitution
created the Board of Regents outside the executive branch; the Board’s members are appointed
by the Governor and confirmed by the State Senate. Id. Art. VIII, § IV, Para. I. The Governor
appoints the Child Advocate, who is organized as part of the state court system and acts
“independently of any state official, department, or agency[.]” O.C.G.A. § 15-11-742. The
remaining agencies that Meta lists are led by commissioners appointed by either the Governor or
by a board appointed by the Governor and confirmed by the State Senate. Id. §§ 37-1-3, 37-1-4
(Dep’t of Behavioral Health and Developmental Disabilities); id. §§ 49-2-1, 49-2-2 (Dep’t of
Human Services, including the Dep’t of Family and Children’s Services); id. §§ 31-2A-1, 31-
2A-2 (Dep’t of Public Health); id. §§ 50-7-2, 50-7-3 (Dep’t of Economic Development).

The above elected officials—including the Governor and the AG—can have different interests
and litigate against each other. See, e.g., Perdue, 277 Ga. at 6 (holding that Governor’s authority
to direct AG is restricted and he could not direct AG to dismiss an appeal filed independently by
AG on behalf of the State involving legislative reapportionment under the Voting Rights Act);
Bowers, 259 Ga. at 221. The AG and the Governor both possess “statutory authority to direct
litigation on behalf of the State of Georgia.” Perdue, 277 Ga. at 4. The AG’s distinct tripartite
duties include representing state agencies, acting upon direction from the Governor, and
performing independent AG duties required by law. See Ga. Const. Art. V, § III, Para. IV. Here,
the AG alone brought this action under the Fair Business Practices Act, O.C.G.A. §§ 10-1-390
et seq., as required by law and outside the scope of any agency representation or direction from
the Governor. Any access to documents possible from agency representation or Governor
direction does not extend to this case.

Related to this litigation, communications between the AG’s Consumer Protection Division (the
prosecution team in this case) and state agencies generally would not be protected by attorney-
client privilege, though other privileges may apply (e.g., work product, common interest).
Communications between agencies and other AG divisions generally would be privileged if they
constitute providing legal advice to the agency or representing the agency in litigation.

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Meta’s Position: The Georgia agencies that Meta has identified—Board of Regents; Department
of Behavioral Health and Developmental Disabilities; Department of Economic Development;
Department of Education; Department of Family and Children Services; Department of Human
Services; Department of Public Health; Governor’s Office; and Office of the Child Advocate—
are subject to discovery as a matter of state and Ninth Circuit law. The Georgia constitution
provides that “[t]he Attorney General shall act as the legal advisor of the executive department.”
Ga. Const. art. V, § 3, ¶ IV. Further, “[i]t is the duty of the Attorney General . . . [t]o represent the
state in all civil actions tried in any court.” Ga. Code Ann. § 45-15-3. And “[t]he Department of
Law is vested with complete and exclusive authority and jurisdiction in all matters of law relating
to the executive branch of the government and every . . . agency thereof.” Id. § 45-15-34. By
statute, these agencies are “prohibited from employing counsel in any manner whatsoever.” Id.;
see also id. §§ 45-15-13 to -14 (Georgia Education Authority requires “approval of the Attorney
General to employ other counsel in any matter whatsoever”). No statute deprives the Attorney
General of access to agency documents. And nothing in Georgia’s Open Records Act (“ORA”)
suggests that the AG must use the act to compel records from state agencies. Rather, as the States’
own case makes clear, the ORA only governs the circumstances under which “records must be
produced for public inspection.” Bowers, 259 Ga. at 221 (1989).

Because the Georgia AG is “vested with complete and exclusive authority” to represent executive
agencies, they have “control” over agency materials—and therefore have discovery obligations
with respect to them—under In re Citric Acid’s “legal right” standard.1 See, e.g., Bd. of Educ. of
Shelby Cnty. v. Memphis City Bd. of Educ., 2012 WL 6003540, at *3 (W.D. Tenn. Nov. 30, 2012)
(legal right based on AG’s “statutory duties to handle ‘all legal services,’ ‘direct and supervise’ all
litigation, and ‘represent’ the State of Tennessee,” and the absence of any authority denying the
AG the ability to “obtain responsive documents on demand”); In re Generic Pharms. Pricing
Antitrust Litig., 571 F. Supp. 3d 406, 411 (E.D. Pa. 2021) (legal right based on obligation to
“represent[] Commonwealth agencies” and statute providing that the AG “shall have the right to
access at all times to the books and papers of any Commonwealth agency necessary to carry out
his duties” (cleaned up)). By contrast, courts have rejected the argument Georgia makes here
regarding speculative conflicts of interest. In re Generic Pharms. Pricing Litig., 2023 WL
6985587, at *2 (rejecting “arguments regarding a possible conflict between the AGO and the
governor” because “state agencies ‘undoubtedly hold many relevant documents and state to benefit
from the Attorney General’s success” (citation omitted)).




1
  Georgia admits that it intends to assert that certain communications between the Attorney
General’s office and the relevant agencies are privileged. Georgia cannot fairly take the position
here that the agencies are not parties, while also taking the position that its communications with
these agencies are attorney-client privileged.

                                                  2
